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UNITED STATES DISTRICT COURT                                          \1.8. DIB'miCT OOURT.     ~.gN,V,

EASTERN DISTRICT OF NEW YORK
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                                                                       * NOV 10 2011 *
WENDELL BAIL BONDING CO. #0811,
                                                                      LONG ISLAND OFf"leE
                           Plaintiff,

                            -against-
                                                                  ORDER
ANDREW M. CUOMO, ATTORNEY                                         I 0-CV -4022 (SJF) (ETB)
GENERAL OF THE STATE OF NEW YORK,

                           Defendant.
----------------------------------------------------------)(


FEUERSTEIN, J.


        On August 30,2010, prose plaintiff Wendell Bail Bonding Co. ("plaintiff') commenced

this action against defendant Andrew M. Cuomo ("defendant"). Before the Court is defendant's

motion to dismiss the action pursuant to Federal Rules of Civil Procedure 8(a) and 12(b)(6).

[Docket No. 18). For the reasons that follow, defendant's motion is granted.



I.      Background



        Since commencing this action, plaintiff has filed, inter alia, two (2) supplemental

complaints, a "motion to dismiss," a number of"memoranda oflaw," and hundreds of pages of

exhibits. [See. e.g., Docket Entry Nos. 5, 8, I 0, 14, 15, 17, 19, 20, 23-26, 46-52, 54-60, 63-68).

None of plaintiffs submissions, however, describe the factual or legal basis for this action.

        On September 29,2011, the Court issued an order that plaintiff show cause why this



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 action should not be dismissed for: (I) plaintiff's failure to state a claim upon which relief can be

 granted, and (2) plaintiff's failure to retain an attorney to represent it in this action. After the

 order to show cause was issued, plaintiff filed six (6) more "memoranda oflaw," [Docket Entry

Nos. 63-68], which make vague references to the Fifth, Sixth, and Eighth Amendments to the

Constitution, [See Docket Entry No. 66], but which fail to clarity the claims in the complaint.



II.     Analysis



        In order to survive a motion to dismiss pursuant to Rule 12(b)(6), "a complaint must

contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its

face." Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937,1949,173 L.Ed.2d 868 (2009) (citation

omitted). The complaint must "give the defendant fair notice of what the claim is and the

grounds upon which it rests." Bell At!. Com. v. Twombly, 550 U.S. 554, 555, 127 S.Ct. 1955,

167 L.Ed.2d 929 (2007) (citation omitted).

       A "pleading that offers 'labels and conclusions' or 'a formulaic recitation of the elements

of a cause of action will not do."' Twombly, 550 U.S. at 555. "Nor does a complaint suffice if it

tenders 'naked assertion[s]' devoid of further factual enhancement."' Iqbal, 129 S.Ct. at 1949

(quoting Twombly, 550 U.S. at 557). "Factual allegations must be enough to raise a right to

relief above the speculative level, on the assumption that all the allegations in the complaint are

true (even if doubtful in fact)." Twombly, 550 U.S. at 555. The plausibility standard requires

"more than a sheer possibility that defendant has acted unlawfully." Iqbal, 129 S.Ct. at 1949.

       In deciding a motion to dismiss, the Court must liberally construe the claims, accept all


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     factual allegations in the complaint as true, and draw all reasonable inferences in favor of the

     plaintiff Goldstein v. Pataki, 516 F.3d 50,56 (2d Cir. 2008) (quoting Chambers v. Time

     Warner. Inc., 282 F.3d 147, 152 (2d Cir. 2002)). However, this standard "is inapplicable to legal

     conclusions. Threadbare recitals of the elements of a cause of action, supported by mere

     conclusory statements, do not suffice." Iqbal, 556 U.S. at 1949.

             A prose plaintiffs submissions should be construed "liberally," and "interpreted to raise

     the strongest arguments that they suggest," Treistman v. Fed. Bureau of Prisons, 470 F.3d 471,

     474 (2d Cir. 2006) (per curiam) (internal quotation marks omitted), but prose plaintiffs

     nevertheless "remain subject to the general standard applicable to all civil complaints under the

     Supreme Court's decisions in Twombly and Iqbal." White v. Vance, No. 10 CV 6142, 2011 WL

     2565476, at *2 (S.D.N.Y. June 21, 2011) (citing Schwamborn v. County ofNassal!, 348 Fed.

     Appx. 634, 635 (2d Cir. 2009)).

            Although plaintiffs submissions make several references to the United States

     Constitution, the Court remains unable to discern the nature of plaintiffs claim. As the

     complaint does not state a claim upon which relief may be granted, this action must be

     dismissed. 1 The Court need not reach the question of whether plaintiffs claims are barred by the

     Eleventh Amendment




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              Furthermore, although this action has been brought in the name of a corporation, no
     attorney has filed a notice of appearance on plaintiff's behalf. This is a separate and independent
     reason for dismissal. Analogic Com. v. Marquis Clearance Svcs .. Ltd., 10-CV-3801, 2011 WL
     4056295 (E.D.N.Y. Sept 7, 2011) ((quoting Jones v. Niagara Frontier Transp. Authoritv. 722
     F.2d 20, 22 (2d Cir. 1983)) ("The Second Circuit has long required that corporations appear
     through licensed attorneys and may not appear prose.").

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            III.      Conclusion



                      For the reasons that follow, the complaint is dismissed without prejudice pursuant to

            Rules S(a) and 12(b)(6) of the Federal Rules of Civil Procedure. The Clerk of Court is directed

            to close this case. In accordance with Rule 77(d) of the Federal Rules of Civil Procedure, the

            Clerk of Court shall serve a copy of this order upon all parties and record such service on the

            docket.




            SO ORDERED.



                                                           sAndra J. Feue!'~ _
                                                           United States ~rict Judge


            Dated:           November I 0, 2011
                             Central Islip, NY




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